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        Regards,
        CYM

        Sent from my iPhone



              On Apr 15, 2020, at 9:52 AM, Lance Joseph <lancelaw@att.net> wrote:

              ﻿
              Dear Mr. Mills;

                 When we spoke about a month ago after my client removed his
              yacht from your client's residence in North Miami, you stated that it
              was in fact your client that owned the vessel. Nevertheless, the police
              were called that night and in fact confirmed my client was the legal
              owner before the boat was removed. In spite of my requests, you
              have yet to provide any documentation to me or my client, Nicholas
              Aular, that supported your words. You even threatened to have me
              arrested for theft of the vessel, which I strongly advised you not to
              attempt as it would harm your career. Now, a month later, I am
              contacted by a Detective from North Miami which indicated you are
              still attempting to follow through on your treats. Of course, you still
              have provided no documentation whatsoever that your client has any
              ownership interest at all in the vessel. At best, your client MAY have
              a civil claim. If so you are invited to file suit in the civil courts to try
              to enforce whatever claim your client thinks they have. However,
              while I restrained myself the last time, my current consideration is to
              file a complaint against you and your firm for threatening me. Govern
              yourself accordingly.


              Law offices of Lance Joseph

              9990 SW 77th Ave,

              PH-8

              Miami, FL. 33156

              (305) 596-6110

              lancelaw@att.net
